       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Andrew Lamont Spratley
        v. Commonwealth of Virginia
        Record No. 1715-17-4
        Opinion rendered by Judge Mary Grace O’Brien on
        October 9, 2018

    2. Tobias Ogbonna Reed
        v. Commonwealth of Virginia
        Record No. 1305-15-4
        Opinion rendered by Judge Alston upon remand from
         the Supreme Court of Virginia
        October 16, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Kevin Cody
   v. Commonwealth of Virginia
   Record No. 0599-17-4
   Opinion rendered by Judge Humphreys
    on April 17, 2018
   Refused (180664)

2. Leslie Itutu Camp
   v. Commonwealth of Virginia
   Record No. 0483-17-2
   Opinion rendered by Judge Russell
    on May 8, 2018
   Refused (180738)

3. Grace Nadine McGuire
   v. Commonwealth of Virginia
   Record No. 0395-17-4
   Opinion rendered by Judge Chafin
    on May 22, 2018
   Refused (180815)

4. Dwight Delano Moore
   v. Commonwealth of Virginia
   Record No. 0224-17-1
   Opinion rendered by Judge Beales
    on June 5, 2018
   Refused (180869)
